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   1    CENTER FOR DISABILITY ACCESS
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   6    Attorneys for Plaintiff
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   9                           UNITED STATES DISTRICT COURT
  10                          CENTRAL DISTRICT OF CALIFORNIA
  11
  12     Orlando Garcia,                      Case No. 2:20-cv-08013-PSG-RAO
  13                  Plaintiff,              Plaintiff’s Notice of Motion and
  14                                          Motion to Reopen Case
              v.
  15                                             Date:      June 7, 2021
         Sehan Los Angeles, LLC, a               Time:      1:30 p.m.
  16     California Limited Liability            Ctrm:      6A (6th Floor)
  17     Company;
         Jacob Yoonsup Hwang; and             Hon. Philip S. Gutierrez
  18     Does 1-10,
  19
                      Defendants.
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  21
  22          Please take notice that on June 7, 2021 at 1:30 pm at the United States
  23   Courthouse located at 350 West 1st Street, Courtroom 6A, 6th Floor, Los
  24   Angeles, California, 90012, Plaintiff Orlando Garcia will, and hereby does,
  25   move this Court to order the above captioned matter be reopened and
  26   returned to the active calendar.
  27
              Plaintiff hereby moves this court to reopen the above captioned case
  28
       pursuant to the court’s minute order dated January 19, 2021 as well as under



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   1   the authority of Federal Rule of Civil Procedure 60(b)(6). The matter was
   2   provisionally settled on January 15, 2021. However, despite multiple
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       attempts, and diligent action by the plaintiff, settlement has not been
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       consummated. Thus, Plaintiff moves to have this case reopened and returned
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       to the active calendar so that Plaintiff may prosecute his case and avoid what
   6
       would otherwise be a manifest injustice.
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              This Motion is supported by the Declaration of Amanda Seabock, the
   8
   9   exhibits attached thereto, the Memorandum of Points and Authorities, and

  10   oral argument, if any.
  11          This motion is made following attempts to confer with defense counsel
  12   as required by Local Rule 7-3, including leaving voicemail messages and
  13   emails, but no cooperation or response has been provided.
  14
  15
       Dated: April 20, 2021                 CENTER FOR DISABILITY ACCESS
  16
                                                  By: /s/ Amanda Seabock
  17                                                  Amanda Seabock
                                                      Attorney for Plaintiff
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       Notice of Motion                                                  2:20-cv-08013-PSG-RAO
